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                          THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                  Plaintiff,
                                                       CASE NO. 4:21-cv-10694-TSH
        v.

 WIZIQ, INC.,                                          PATENT CASE

                  Defendant.



                               MOTION FOR DEFAULT JUDGMENT

       Pursuant to Federal Rules of Civil Procedure 55(b), Plaintiff, Rothschild Broadcast

Distribution Systems, LLC (“Plaintiff” and/or “RBDS”) brings this Motion for Default Judgment

against Defendant, WizIQ, Inc. (“Defendant” and/or “WizIQ”), and in support, states:

       1.       On April 26, 2021, Plaintiff filed its Original Complaint against Defendant alleging

infringement of U.S. Patent No. 8,856,221 (Dkt. 1).

       2.       Defendant was served on June 11, 2021.

       3.       Defendant was required to file an answer to the complaint on July 2, 2021.

       4.       To date, Defendant has not filed an answer or otherwise responded to the complaint.

       5.       On August 16, 2021, RBDS filed its Motion for Entry for Default Judgment (Dkt.

9).

       6.       On August 20, 2021, the court entered the Clerk’s Entry of Default on August 20,

2021 (Dkt. 10).

       7.       Plaintiff respectfully submits that damages should be calculated a reasonable

royalty and that the reasonable royalty should be calculated as set forth in the Affidavit of Jay



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Johnson. The amount of a reasonable royalty according to this calculation is $1.33 Million U.S.D.,

including attorney’s fees and costs of $10,000.00 U.S.D. See, Exhibit 1, paragraphs 8-15.

       8.       At a minimum, damages should be no lower than $40,000.00 U.S.D. See, Exhibit

1, paragraphs 16-17.

       9.       Plaintiff respectfully asks this court to enter a default judgment in favor of Plaintiff

ordering Defendant to pay Plaintiff an amount of damages of $1.32 Million U.S.D. but no less than

$40,000.00 U.S.D.

       Plaintiff, Rothschild Broadcast Distribution Systems, LLC therefore moves the Court for

an order of Default Judgment.

Dated: September 17, 2021.                     Respectfully submitted,
                                               Attorneys for Plaintiff
                                               Rothschild Broadcast Distribution Systems

                                                /s/ Brendan M. Shortell
                                                Brendan M. Shortell (BBO# 675851)
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on September 17, 2021. Parties
may access the foregoing through the Court’s system.


                                                /s/ Brendan M. Shortell
                                                Brendan M. Shortell (BBO# 675851)




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